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Case 3:21-mc-80292-TSH Document 1-1 Filed 12/09/21 Page 2 of 3
                                 Case 3:21-mc-80292-TSH Document 1-1 Filed 12/09/21 Page 3 of 3



    Cloudflare, Inc.

    Extibit A

        Title of Original Work      Author of Original Work         Original Work                               Infringing Work


    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://cc-comic.com/one-piece/
1                                                             m/j/rensai/onepiece.html

    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://cdn-01.cc-comic.com/cdn-drive-01/d/one-
2                                                             m/j/rensai/onepiece.html piece/c/one-piece-1016/001.jpg

    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://hakaraw.com/one-piece-raw-free
3                                                             m/j/rensai/onepiece.html

    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://i.upanh.org/2021/11/25/10_FFBAlnqXMAEfAfQ.jpg
4                                                             m/j/rensai/onepiece.html

    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://rawbis.com/%E7%AB%A0%E3%82%92%E8%AA%AD%E3%8
5                                                             m/j/rensai/onepiece.html 2%80/%e3%83%af%e3%83%b3%e3%83%94%e3%83%bc%e3%82%b9-
                                                                                        raw-%e7%ac%ac1030%e8%a9%b1/
    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://uk.leoi.info/big-data/why-your-aiops-deployments-
6                                                             m/j/rensai/onepiece.html may-fail.html

    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://www.freemangaraw.com/manga-b/IvA.asp
7                                                             m/j/rensai/onepiece.html

    ONE PIECE                     尾田 栄一郎（Eiichiro Oda ）       https://www.shonenjump.co https://image.manga1002.com/upload/1_8_960_0_14/WfQ/RnV
8                                                             m/j/rensai/onepiece.html h/bdkgfmdiimpjhhniifleaofddfklbjgfmjjbbdfcoploc.webp

    テラフォーマーズ(TERRA                橘 賢一（Kenichi Tachibana）     https://youngjump.jp/terraf https://i9i9.to/c/504774
9   FORMARS)                                                  ormars/

   テラフォーマーズ(TERRA                 橘 賢一（Kenichi Tachibana）     https://youngjump.jp/terraf https://i9i9.to/c/991601
10 FORMARS)                                                   ormars/




                                                              EXHIBIT A
